8:22-cv-00199-SMB-RCC               Doc # 103      Filed: 01/31/23      Page 1 of 11 - Page ID # 1183




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

 NATIONAL INDEMNITY COMPANY,

                             Plaintiff,                                     8:22CV199

           vs.
                                                                       PROTECTIVE ORDER
 GLOBAL REINSURANCE CORPORATION
 OF AMERICA, IRB BRASIL RE, R&Q
 REINSURANCE COMPANY, SIRIUSPOINT
 LTD., and TIG INSURANCE COMPANY,

                             Defendants.


      Upon consideration of the parties’ joint request for entry of a Protective Order, (Filing No.
 100), the Court enters the following Protective Order governing the disclosure of confidential
 Discovery Material by a Producing Party to a Receiving Party in this Action.

      1)         Definitions. As used in this Order:

                 a. Action refers to the above-captioned litigation.

                 b. Discovery Material includes all information exchanged between the parties,
                    whether gathered through informal requests or communications between the parties
                    or their counsel, or gathered through formal discovery conducted pursuant to Rules
                    30 through 36, and Rule 45. Discovery Material includes information within
                    documents, depositions, deposition exhibits, and other written, recorded,
                    computerized, electronic or graphic matter, copies, and excerpts or summaries of
                    documents disclosed as required under Rule 26(a).

                 c. A Producing Party is a party to this litigation, or a non-party either acting on a
                    party’s behalf or responding to discovery pursuant to a Rule 45 subpoena, that
                    produces Discovery Material in this Action.

                 d. A Receiving Party is a party to this litigation that receives Discovery Material from
                    a Producing Party in this Action.




                                                       1
8:22-cv-00199-SMB-RCC          Doc # 103      Filed: 01/31/23      Page 2 of 11 - Page ID # 1184




      2)    Confidential Discovery Material. This Protective Order applies to all confidential
 Discovery Material produced or obtained in this case. For the purposes of this Protective Order,
 confidential Discovery Material shall include:

            a. Commercial information relating to any party’s business including, but not limited
               to, tax data, financial information, financial or business plans or projections,
               proposed strategic transactions or other business combinations, internal audit
               practices, procedures, and outcomes, trade secrets or other commercially sensitive
               business or technical information, proprietary business and marketing plans and
               strategies, studies or analyses by internal or outside experts, competitive analyses,
               customer or prospective customer lists and information, profit/loss information,
               product or service pricing or billing agreements or guidelines, and/or confidential
               project-related information;

            b. Personnel data of the parties or their employees, including but not limited to
               employment application information; the identity of and information received from
               employment references; wage and income information; benefits information;
               employee evaluations; medical evaluation and treatment information and records;
               counseling or mental health records; educational records; and employment
               counseling, discipline, or performance improvement documentation;

            c. Information concerning settlement discussions and mediation, including demands
               or offers, arising from a dispute between a party and a non-party;

            d. Medical or mental health information;

            e. Records restricted or prohibited from disclosure by statute; and

            f. Any information copied or extracted from the previously described materials,
               including all excerpts, summaries, or compilations of this information or testimony,
               and documentation of questioning, statements, conversations, or presentations that
               might reveal the information contained within the underlying confidential
               Discovery Material.

            g. All documents and information subject to the protective order entered into on
               March 4, 2013 and modified May 25, 2022 (“Montana Protective Order”) in the
               matter of National Indemnity Company v. State of Montana, Montana First Judicial
               District Court, Lewis and Clark County, Cause No. XDDV2012-140 (“Coverage
               Action”).




                                                  2
8:22-cv-00199-SMB-RCC          Doc # 103      Filed: 01/31/23      Page 3 of 11 - Page ID # 1185




      3)    Manner of Confidential Designation. A Producing Party shall affix a
 “CONFIDENTIAL” designation to any confidential Discovery Material produced in this Action.

            a. As to documentary information (defined to include paper or electronic documents,
               but not transcripts of depositions or other pretrial or trial proceedings), the
               Producing Party must affix the legend “CONFIDENTIAL” to each page that
               contains protected material.

            b. If only a portion or portions of the information on a document page qualifies for
               protection, the Producing Party must clearly identify the protected portion(s) (e.g.,
               by using highlighting, underlining, or appropriate markings in the margins).

            c. If it is not feasible to label confidential Discovery Material as “CONFIDENTIAL,”
               the Producing Party shall indicate via cover letter or otherwise at the time of
               production that the material being produced is CONFIDENTIAL.

        Counsel for a disclosing party may further designate confidential Discovery Material as
 CONFIDENTIAL--ATTORNEYS' EYES ONLY if such counsel concludes in good faith that the
 material is or contains non-public information that is highly sensitive proprietary information
 including, but not limited to, trade secrets, privileged information, or nonpublic technical,
 financial, personal or business information. Discovery Material designated as CONFIDENTIAL
 - FOR ATTORNEYS’ EYES ONLY means any document which bears the legend
 CONFIDENTIAL - FOR ATTORNEYS’ EYES ONLY or, if it is not feasible to label the
 Discovery Material, which the producing party indicates via cover letter or otherwise at the time
 of production as CONFIDENTIAL - FOR ATTORNEYS’ EYES ONLY.

      4)    Timing of Confidential Designation.

            a. Except as otherwise stipulated or ordered, or where discovery is made available for
               inspection before it is formally disclosed, Discovery Material that qualifies for
               protection under this Order must be clearly so designated before the material is
               disclosed or produced.

            b. If the Producing Party responds to discovery by making Discovery Material
               available for inspection, the Producing Party need not affix confidential
               designations until after the Receiving Party has selected the material it wants to
               receive. During the inspection and before the designation, all material made
               available for inspection is deemed “CONFIDENTIAL.” After the Receiving Party
               has identified the Discovery Material it wants produced, the Producing Party must
               determine which materials, or portions thereof, qualify for protection under this


                                                 3
8:22-cv-00199-SMB-RCC          Doc # 103       Filed: 01/31/23      Page 4 of 11 - Page ID # 1186




                Order, and designate the materials as “CONFIDENTIAL” and/or
                CONFIDENTIAL--ATTORNEYS' EYES ONLY as required under this order.

      5)    Qualified Recipients. For the purposes of this Protective Order, the persons
 authorized to receive confidential Discovery Material (hereinafter “Qualified Recipient”) are:

            For information designated as CONFIDENTIAL:

            a. The Parties, including any members, council members, officers, board members,
               directors, employees, or other legal representatives of the parties;

            b. Legal counsel representing the parties, and members of the paralegal, secretarial,
               or clerical staff who are employed by, retained by, or assisting such counsel;
               including vendors who are retained to copy documents or electronic files, provide
               technical, litigation support, or mock trial services, or provide messenger or other
               administrative support services;

            c. Any non-expert witness during any deposition or other proceeding in this Action,
               and counsel for that witness;

            d. Potential witnesses and their counsel, but only to the extent reasonably related to
               the anticipated subject matter of the potential witness’s deposition, trial, or hearing
               testimony for this Action, so long as such persons agree to maintain the confidential
               Discovery Material in confidence per the terms of this Order, and provided that
               such persons may only be shown copies of confidential Discovery Material and
               may not retain any such material;

            e. Consulting or testifying expert witnesses who will be providing professional
               opinions or assistance for this Action based upon a review of the CONFIDENTIAL
               information, and the staff and assistants employed by the consulting or testifying
               experts;

            f. Any mediator or arbitrator retained by the parties to assist with resolving and/or
               settling the claims of this Action and members of the arbitrator’s or mediator’s staff
               and assistants;

            g. The parties’ insurers for this Action, and their staff and assistants, members,
               officers, board members, directors or other legal representatives;

            h. Court reporters for depositions taken in this Action, including persons operating
               video recording equipment and persons preparing transcripts of testimony;




                                                  4
8:22-cv-00199-SMB-RCC        Doc # 103      Filed: 01/31/23      Page 5 of 11 - Page ID # 1187




          i. The court and its staff, any court reporter or typist recording or transcribing
             hearings and testimony, and jurors; and

          j. Any auditor or regulator of a party entitled to review the confidential Discovery
             Material due to contractual rights or obligations, or federal or state laws, or court
             orders, but solely for such contractual or legal purposes.

     For information designated as “CONFIDENTIAL INFORMATION-ATTORNEYS’ EYES
     ONLY”:

          a. Legal counsel representing the Receiving Parties, and members of the paralegal,
             secretarial, or clerical staff who are employed by, retained by, or assisting such
             counsel;

          b. Consulting or testifying experts for the Receiving Party, defined to include only
             those experts retained or employed to assist the Receiving party in preparing for
             trial or any other proceeding in the Action and who need access to the
             CONFIDENTIAL INFORMATION-ATTORNEYS EYES ONLY information to
             provide such assistance, and who are not employed by, or an agent or representative
             for, the Receiving Party, nor anticipated to become an employee, agent or
             representative of the Receiving Party in the near future;

          c. If necessary to promote alternative dispute resolution, any mediator or arbitrator
             (and their assistants or staff) retained by the parties who needs access to the
             CONFIDENTIAL INFORMATION-ATTORNEYS EYES ONLY information to
             assist the parties with resolving the claims of this Action;

          d. Court reporters for depositions taken in this Action, including persons operating
             video recording equipment and persons preparing transcripts of testimony; and

          e. The court and its staff, any court reporter or typist recording or transcribing
             hearings and testimony, and jurors.

     6)   Dissemination by the Receiving Party. Counsel for the Receiving Party shall:
          a. Require Qualified Recipients who are non-expert witnesses or expert witnesses and
             consultants and who receive information designated as “CONFIDENTIAL” and/or
             CONFIDENTIAL--ATTORNEYS' EYES ONLY to review and agree to the terms
             of this Protective Order and execute a copy of the Agreement attached hereto as
             Appendix A before receiving confidential Discovery Material.

          b. Instruct witnesses, consultants, and outside counsel who assist with case
             preparation or represent a witness that disclosure of the information designated as


                                               5
8:22-cv-00199-SMB-RCC           Doc # 103       Filed: 01/31/23     Page 6 of 11 - Page ID # 1188




                “CONFIDENTIAL” and/or CONFIDENTIAL--ATTORNEYS' EYES ONLY is
                prohibited as set forth herein.

            c. Maintain a list of any confidential Discovery Material disclosed and to whom, along
               with the executed copies of the Appendix A Agreement.

      The prohibition on disclosing information designated as “CONFIDENTIAL” and/or
 CONFIDENTIAL--ATTORNEYS' EYES ONLY exists and is enforceable by the court even if
 the person receiving the information fails or refuses to sign the Appendix A Agreement.

      7)    Duty as to Designations.           Each Producing Party that designates information
 or items as CONFIDENTIAL and/or CONFIDENTIAL--ATTORNEYS' EYES ONLY must
 exercise reasonable care to limit any such designation to specific material that qualifies under the
 appropriate standards, and designate only those parts of material, documents, items, or oral or
 written communications that qualify, so that other portions of the material, documents, items, or
 communications for which protection is not warranted are not swept unjustifiably within the
 ambit of this Order. Broadly described, indiscriminate, or routinized designations are prohibited.

      8)    Limitations on Use. Confidential Discovery Material shall be used by the Receiving
 Party only to prepare for and conduct proceedings herein and not for any business or other
 purpose whatsoever. The parties acknowledge that some of the information produced in this case
 may be protected health information, or contain such information, within the meaning of the
 Health Insurance Portability and Accountability Act (HIPAA). Consistent with 45 C.F.R. §
 164.512(e)(1)(iv)(v), and as to the health information requested, counsel and the Receiving Party:

            a. Shall not use or disclose the information for any purpose other than the litigating
               this Action;

            b. Shall return or destroy the protected health information (including all copies made)
               at the end of this Action; and

            c. Shall request, use and disclose only the minimum amount necessary to conduct this
               Action.

      9)    Maintaining Confidentiality. Discovery Material designated as “CONFIDENTIAL”
 and/or CONFIDENTIAL--ATTORNEYS' EYES ONLY shall be held in confidence by each
 Qualified Recipient to whom it is disclosed, shall be used only for purposes of this action, and
 shall not be disclosed to any person who is not a Qualified Recipient. Each party, each Qualified


                                                  6
8:22-cv-00199-SMB-RCC           Doc # 103       Filed: 01/31/23     Page 7 of 11 - Page ID # 1189




 Recipient, and all counsel representing any party, shall use their best efforts to maintain all
 information designated as “CONFIDENTIAL” and/or CONFIDENTIAL--ATTORNEYS' EYES
 ONLY in such a manner as to prevent access, even at a hearing or trial, by individuals who are
 not Qualified Recipients. Nothing herein prevents disclosure beyond the terms of this Protective
 Order if the party claiming confidentiality consents in writing to such disclosure.

      10) Copies.      Discovery     Material    designated    as     “CONFIDENTIAL”       and/or
 CONFIDENTIAL--ATTORNEYS' EYES ONLY shall not be copied or otherwise reproduced by
 the Receiving Party, except for transmission to Qualified Recipients, without the written
 permission of the Producing Party or, in the alternative, by order of the court. However, nothing
 herein shall restrict a Qualified Recipient from loading confidential documents into document
 review platforms or programs for the purposes of case or trial preparation or making working
 copies, abstracts, digests, and analyses of information designated as “CONFIDENTIAL” and/or
 CONFIDENTIAL--ATTORNEYS' EYES ONLY under the terms of this Protective Order.

      11) Docket Filings. All documents of any nature including, but not limited to, briefs,
 motions, memoranda, transcripts, discovery responses, evidence, and the like that are filed with
 the court for any purpose and that contain Discovery Material designated as “CONFIDENTIAL”
 and/or CONFIDENTIAL--ATTORNEYS' EYES ONLY shall be provisionally filed under
 restricted access with the filing party’s motion for leave to file restricted access documents. A
 party seeking to file Discovery Material under restricted access must comply with the court’s
 rules and electronic docketing procedures for filing such motions.

      12) Depositions. The following procedures shall be followed at all depositions to protect
 the integrity of all Discovery Material designated as “CONFIDENTIAL” and/or
 CONFIDENTIAL--ATTORNEYS' EYES ONLY:

            a. Only Qualified Recipients may be present at a deposition in which such information
               is disclosed or discussed.

            b. All deposition testimony which discloses or discusses information designated as
               “CONFIDENTIAL” and/or CONFIDENTIAL--ATTORNEYS' EYES ONLY is
               likewise deemed designated as “CONFIDENTIAL” and/or CONFIDENTIAL--
               ATTORNEYS' EYES ONLY.




                                                  7
8:22-cv-00199-SMB-RCC           Doc # 103      Filed: 01/31/23      Page 8 of 11 - Page ID # 1190




             c. Information designated as “CONFIDENTIAL” and/or CONFIDENTIAL--
                ATTORNEYS' EYES ONLY may be used at a nonparty deposition only if
                necessary to the testimony of the witness.

      13) Challenges to Confidentiality Designations. A Receiving Party that questions the
 Producing Party’s confidentiality designation will, as an initial step, contact the Producing Party
 and confer in good faith to resolve the dispute. If the parties are unable to resolve the dispute
 without court intervention, they shall schedule a conference call with the magistrate judge
 assigned to the case before engaging in written motion practice. If a written motion and briefing
 are necessary and the information in dispute must be reviewed by the court to resolve that motion,
 the confidential information shall be filed under restricted access pursuant to the court’s
 electronic docketing procedures. The party that produced the information designated as
 “CONFIDENTIAL” and/or CONFIDENTIAL--ATTORNEYS' EYES ONLY bears the burden
 of proving it was properly designated. The party challenging a “CONFIDENTIAL” and/or
 CONFIDENTIAL--ATTORNEYS' EYES ONLY designation must obtain a court order before
 disseminating the information to anyone other than Qualified Recipients.

      14) Use at Court Hearings and Trial. Subject to the Federal Rules of Evidence,
 Discovery    Material    designated    as   “CONFIDENTIAL”          and/or    CONFIDENTIAL--
 ATTORNEYS' EYES ONLY may be offered and received into evidence at trial or at any hearing
 or oral argument. A party agreeing to the entry of this order does not thereby waive the right to
 object to the admissibility of the material in any proceeding, including trial. Any party may move
 the court for an order that Discovery Material designated as “CONFIDENTIAL” and/or
 CONFIDENTIAL--ATTORNEYS' EYES ONLY be reviewed in camera or under other
 conditions to prevent unnecessary disclosure.

      15) Return or Destruction of Documents. Upon final termination of this Action,
 including all appeals, each party shall make reasonable efforts to destroy all Discovery Material
 designated as “CONFIDENTIAL” and/or CONFIDENTIAL--ATTORNEYS' EYES ONLY. The
 destroying party shall notify the producing party when destruction under this provision is
 complete. If a party is unable to destroy all Discovery Material designated as “CONFIDENTIAL”
 and/or CONFIDENTIAL--ATTORNEYS' EYES ONLY, that material shall be returned to the
 Producing Party or the Producing Party’s counsel, and this Protective Order shall continue in
 force as to any material that cannot be returned or destroyed. This Protective Order shall survive


                                                  8
8:22-cv-00199-SMB-RCC            Doc # 103      Filed: 01/31/23     Page 9 of 11 - Page ID # 1191




 the final termination of this action, and it shall be binding on the parties and their legal counsel
 in the future.

       16) Modification. This Protective Order is entered without prejudice to the right of any
 party to ask the court to order additional protective provisions, or to modify, relax or rescind any
 restrictions imposed by this Protective Order when convenience or necessity requires. Disclosure
 other than as provided for herein shall require the prior written consent of the Producing Party,
 or a supplemental Protective Order of the court.

       17) Additional Parties to Litigation. In the event additional parties are joined in this
 action, they shall not have access to Discovery Material as “CONFIDENTIAL” and/or
 CONFIDENTIAL--ATTORNEYS' EYES ONLY until the newly joined party, by its counsel, has
 executed and, at the request of any party, filed with the court, its agreement to be fully bound by
 this Protective Order.

       18) Sanctions.

             a. Any party subject to the obligations of this order who is determined by the court
                  to have violated its terms may be subject to sanctions imposed by the court under
                  Rule 37 of the Federal Rules of Civil Procedure and the court’s inherent power.

             b. Confidentiality designations that are shown to be clearly unjustified or that have
                  been made for an improper purpose (e.g., to unnecessarily prolong or encumber
                  the case development process or to impose unnecessary expenses and burdens on
                  other parties) expose the designating party to sanctions. Upon discovering that
                  information was erroneously designated as CONFIDENTIAL and/or
                  CONFIDENTIAL--ATTORNEYS' EYES ONLY, the Producing Party shall
                  promptly notify all other Parties of the improper designation

       19) Inadvertent Disclosure of Protected Discovery Material.

             a. A Producing Party that inadvertently fails to properly designate Discovery
                  Material as “CONFIDENTIAL” and/or CONFIDENTIAL--ATTORNEYS' EYES
                  ONLY shall have 14 days from discovering the oversight to correct that failure.
                  Such failure shall be corrected by providing written notice of the error to every
                  Receiving Party.

             b. Any Receiving Party notified that confidential Discovery Material was received
                  without the appropriate confidentiality designation as authorized under this order
                  shall make reasonable efforts to retrieve any such documents distributed to


                                                    9
8:22-cv-00199-SMB-RCC         Doc # 103      Filed: 01/31/23     Page 10 of 11 - Page ID # 1192




               persons who are not Qualified Recipients under this order, and as to Qualified
               Recipients, shall exchange the undesignated or improperly designated documents
               with documents that include the correct “CONFIDENTIAL” and/or
               CONFIDENTIAL--ATTORNEYS' EYES ONLY designation.

      20) Disclosure of Privileged or Work Product Discovery Material.

            a. The production of attorney-client privileged, or work-product protected
               electronically stored information (“ESI”) or paper documents, whether disclosed
               inadvertently or otherwise, is not a waiver of the privilege or protection from
               discovery in this case or in any other federal or state proceeding. This Protective
               Order shall be interpreted to provide the maximum protection allowed by Federal
               Rule of Evidence 502(d). Nothing contained herein is intended to or shall serve to
               limit a party’s right to conduct a review of documents, ESI or information
               (including metadata) for relevance, responsiveness and/or segregation of privileged
               and/or protected information before production.

            b. Any party who discloses documents that are privileged or otherwise immune from
               discovery shall promptly upon discovery of such disclosure, advise the Receiving
               Party and request that the documents be returned. The Receiving Party shall return
               such produced documents or certify their destruction, including all copies, within
               14 days of receiving such a written request. The party returning such produced
               documents may thereafter seek re-production of any such documents pursuant to
               applicable law.

 Dated this 31st day of January, 2023.

                                                     BY THE COURT:

                                                     s/ Susan M. Bazis
                                                     United States Magistrate Judge




                                                10
8:22-cv-00199-SMB-RCC             Doc # 103   Filed: 01/31/23       Page 11 of 11 - Page ID # 1193




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


  NATIONAL INDEMNITY COMPANY,

                          Plaintiff,                                    8:22CV199

          vs.
                                                                        EXHIBIT A
  GLOBAL REINSURANCE CORPORATION
  OF AMERICA, IRB BRASIL RE, R&Q
  REINSURANCE COMPANY, SIRIUSPOINT
  LTD., and TIG INSURANCE COMPANY,

                          Defendants.



         I hereby acknowledge that I am about to receive Confidential Information supplied in
 connection with the above-captioned case. I understand that such information is being provided to
 me pursuant to the terms and restrictions of the Protective Order entered in this case. I have been
 given a copy of the Protective Order, have read the Protective Order, and agree to be bound by its
 terms. I understand that Confidential Information as defined in the Protective Order, or any notes
 or other records that may be made regarding any such materials, shall not be disclosed to any
 persons except as permitted by the Protective Order.


 Click or tap to enter a date..




  Printed Name                                          Signature




                                                 11
